(?¥\"'
Case 1:04-cv-01176-STA Document 26 Filed 08/08/05 Page 1 of 2 Page|D 27

IN THE UNITED STATES DISTRICT COURT 01
FOR THE WESTERN DISTRlcT OF TENNESSEE “'~Q_>A
EASTERN DIVISION 0~>:40? 15

MARQUINTAS D. WALKER, ,j, 5 § _ 0 /yQ.
z’? .§`)
Plaintiff, ¢Ap
VS. NO. 04-1176-T

PORTER CABLE/DELTA,

Defendant.

ORDER OF REFERENCE

Defendant’s Motion for Status Conference is hereby referred to United States
Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

@/'I/l/V\,M /) - M

JAMES¢-I§. TODD
UNITE/D STATES DISTRICT JUDGE

§ QMM 9%¢’

DATE

This document entered on the docket sheet In compliance
with Rula 58 and,'or_?§ (a) FRCP on "

   

UNITD sATEs DISTRIC COURT - WE"RTE DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:04-CV-01176 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Michael L. Russell

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

W. Stephen Gardner
YOUNG & PERL, P.C.
One Commerce Square
Ste. 23 80

Memphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

